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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA


v.                                NO. 4:09CR00300-003


CLORISSA JANICE MCKINZIE



                        ORDER AMENDING JUDGMENT

     It has come to the Court’s attention that the case number listed on

the Judgment and Commitment (doc #66) as to the above-named defendant

should be amended to reflect the correct defendant number and should

include additional conditions of probation.

     IT IS SO ORDERED that the Judgment and Commitment be amended to

reflect    4:09CR00300-003,   and     the   following   shall     be    added   to   the

conditions of probation:

     The defendant shall participate in educational and vocational
     training under the supervision and guidance of the U. S. Probation
     Office.

     The defendant shall participate in financial counseling under the
     supervision and guidance of the U. S. Probation Office.

     All    other   terms   and    conditions    of   defendant’s        Judgment    and

Commitment shall remain unchanged and in full force and effect.

     DATED this 4th day of June 2010.

                                              /s/Susan Webber Wright

                                            United States District Judge
